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IN THE UNITED sTATEs DISTRICT CoURT 05%, ~- 0
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JAcKsoN DIVIsIoN "’ s.-
CHARLES oWEN, )
)
Piaintiff,- )
)
v. ) NO. 1105 Cv 01099

)

ADM MILLING COMPANY, ) Honorable ]ames D. Todd
)
Defendant. )

ORDER OF SPECIAL ADMISSION
lt is hereby ordered that Timoth$z A. Wolfe shall be admitted to appear before

this Court for the special purpose of acting as attorney to Defendant, ADM Mil]ing

Company, in this matter.

EN'I_`E R]§D:

L/MWA M ;M?)

Horérable ]ames D. Todd

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Thls document entered on the docket she _ _ _ _ Opj

with Rule 58 and.’or_'lQ (a) FRCP on

DISTRICT C URT WESTERN D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01099 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

Timothy A. Wolfe

h/[ECKLER BULGER & TILSON
123 N. Wacker Dr.

Ste. 1800

Chicago, IL 60606

Justin Gilbert

THE GILBERT LAW FIRM
2021 Greystone Park
Jackson7 TN 38308

William P. Dougherty
YOUNG & PERL

One Commerce Square
Ste. 2380

1\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

